Case 2:21-mj-00077-SRW Document 2 Filed 06/23/21 Page 1 of 1

AO 466 (Rev. 12/17) Waiver of Rule 32, Hearing (Violation of Probation or Supervised Release)

UNITED STATES DISTRICT COURT

 

for the
United States of America )
2 Q\ v. Case No. a )\ MJ
Loe . )
(vx Gay kin ? \nG hats. Charging District’s Case No. \ « Ly
Defendant a ° ol M J 130

WAIVER OF RULE 3 hin (EARING
(Violation of prpee An

Supervised Release

‘
Vv cla ty aw / CON amp lewnt LG.
| understand that I have been charged with viglating the 6 {On or supervise in a case

pending in another district, the (name of other court) - C6 _ De s sM s Sch. let cb [=] .

I have been informed of the charges and of my rights to:

a retain counsel or request the assignment of counsel if 1 am unable to retain counsel;
(2) an identity hearing to determine whether I am the person named in the charges;
3) production of certified copies of the judgment, warrant, and warrant application, or reliable electronic

copies of them if the violation is alleged to have occurred in another district;

(4) a preliminary hearing to determine whether there is probable cause to believe a violation occurred if I
will be held in custody, and my right to have this hearing in this district if the violation is alleged to
have occurred in this district; and

(5) a hearing on the government’s motion for my detention in which I have the burden to establish my
eligibility for release from custody.

I agree to waive my right(s) to:
TK an identity hearing and production of the judgment, warrant, and warrant application.
mK a preliminary hearing.
a a detention hearing.
oe

an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
or detention hearing to which Lmay be entitled in this district, L request that my
eliminary hearing and/or etention hearing be held in the prosecuting district, at a time set by
a hat court. e

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

Q ABA GB

Date:

 

 

 

Signature of defendant's attorney

SAM Deook x

 

Printed name of defendant's attorney
